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 8                                UNITED STATES DISTRICT COURT

 9                                        DISTRICT OF NEVADA

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11    KEITH WILLIAM SULLIVAN,                            Case No. 3:21-cv-00196-HDM-WGC
12                       Petitioner,                     ORDER
13            v.
14    PERRY RUSSELL, et al.,
15                       Respondents.
16

17           This is a habeas corpus action under 28 U.S.C. § 2254. Petitioner has submitted an

18   application to proceed in forma pauperis. ECF No. 1. The court finds that petitioner has enough

19   money in his inmate account to pay the filing fee of $5.00.

20           IT THEREFORE IS ORDERED that the application to proceed in forma pauperis (ECF

21   No. 1) is DENIED. Petitioner will have 45 days from the date that this order is entered to have

22   the filing fee of $5.00 sent to the clerk of the court. Failure to comply will result in the dismissal

23   of this action.

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 1          IT FURTHER IS ORDERED that the clerk of the court send petitioner two copies of this

 2   order. Petitioner must make the necessary arrangements to have one copy of this order attached

 3   to the check paying the filing fee.

 4          DATED: May 5, 2021
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                                                               HOWARD D. MCKIBBEN
 6                                                             United States District Judge
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